
Memorandum. To sustain a conviction based exclusively on circumstantial evidence the facts from which the inference of the defendant’s guilt is drawn must be established with certainty, must be inconsistent with his innocence and must exclude to a moral certainty every other reasonable hypothesis (Matter of Cleague, 22 N Y 2d 363, 365-366). We agree with the con*784elusion of the dissenter at the Appellate Division, Mr. Justice Francis T. Murphy, Jr., that the evidence in this record was not sufficient to meet this standard.
On this disposition of the appeal we do not reach defendants’ other contentions.
The orders of the Appellate Division should he reversed and the indictment dismissed as to both defendants.
